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13
                                   UNITED STATES DISTRICT COURT
14
                                  NORTHERN DISTRICT OF CALIFORNIA
15
                                           OAKLAND DIVISION
16

17
   ROBIN BERMAN, BO KANG,                           Case No. 4:17-CV-1864-HSG
18 KHASHAYAR MIRFAKHRAEI, THANG
   VAN VU, DONNA VIERA-CASTILLO,                    NOTICE OF MOTION AND MOTION FOR
19 GIRISH RAMESH, PATRICK HANLEY,                   ATTORNEYS’ FEES AND EXPENSES;
   ILANA SHTERNSHAIN and MANDY                      MEMORANDUM OF POINTS AND
20 SCHWARZ,                                         AUTHORITIES IN SUPPORT THEREOF

21                  Plaintiffs,                     Hearing Date:    May 18, 2023
                                                    Time:            2:00 p.m.
22          v.                                      Courtroom:       2, Floor 4
                                                    Judge:           Hon. Haywood S. Gilliam, Jr.
23 MICROCHIP TECHNOLOGY
   INCORPORATED, a corporation; ATMEL
                                                    Action Filed:    April 4, 2017
24 CORPORATION, a corporation; and ATMEL
   CORPORATION U.S. SEVERANCE
25 GUARANTEE BENEFIT PROGRAM, an
   employee benefit plan,
26
                Defendants
27

28

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1                         NOTICE OF MOTION AND MOTION FOR AWARD OF
                                ATTORNEYS’ FEES AND EXPENSES
2
             TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
3
             PLEASE TAKE NOTICE THAT on May 18, 2023 at 2:00 pm, or as soon thereafter as the
4
     matter may be heard, in the courtroom of the Honorable Haywood S. Gilliam, Jr., Courtroom 2, 4th
5
     Floor, of the above-captioned Court, located at the Oakland Courthouse, 1301 Clay Street, Oakland, CA
6
     94612, plaintiffs will, and hereby do, move this Court to award plaintiffs’ counsel $1.5 million in
7
     attorneys’ fees and litigation expenses (plus a reasonable additional amount for subsequent “fees on
8
     fees”) pursuant to Section 502(g)(1) of ERISA, 29 U.S.C. §1132(g)(1).1
9
             This motion is made on the grounds that the nine individual plaintiffs are the prevailing party in
10
     this action, that the requested attorneys’ fees award is fair, reasonable, and appropriate based on the
11
     results obtained and plaintiffs’ counsel’s lodestar, and that the litigation expenses were reasonably and
12
     actually incurred and are of the same type as are customarily billed to fee-paying clients.
13
             This motion is based on this Notice of Motion and Motion; the accompanying Memorandum of
14
     Points and Authorities; the supporting declarations of Keith Ehrman, Michael Rubin, William B. Reilly,
15
     Richard Pearl, and Daniel Feinberg; the files and records in this matter; any opposition or reply briefs or
16
     declarations; and such argument as may be heard on this matter.
17
             Dated: March 2, 2023                  Respectfully submitted,
18
                                                   ALTSHULER BERZON LLP
19                                                 MICHAEL RUBIN
                                                   MATTHEW MURRAY
20
                                                   MCGUINN, HILLSMAN & PALEFSKY
21                                                 CLIFF PALEFSKY
                                                   KEITH EHRMAN
22
                                                   LAW OFFICE OF WILLIAM REILLY
23                                                 WILLIAM REILLY

24                                         By:      /s/Michael Rubin
                                                      Michael Rubin
25                                                 Attorneys for Plaintiffs

26
         1
           The amounts listed above reflect plaintiffs’ counsel’s hours and expenses through February 23,
27
     2023. Plaintiffs will update those amounts in their reply brief.
28
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 1                                               INTRODUCTION
 2           On January 10, 2023, after nearly six years of litigation (making this the oldest case on the
 3 Court’s docket) and just three weeks before the scheduled January 31, 2023 Pre-Trial Conference, the

 4 parties settled all nine plaintiffs’ claims against defendants Microchip Technology, Inc. et al.

 5 (“Microchip”) for a total of $851,853.67 plus statutory attorneys’ fees and expenses in an amount to be

 6 determined by the Court.

 7           To call this settlement an extraordinary success for plaintiffs would be an understatement. Each
 8 of the nine plaintiffs received 100% of the total value of his or her claim for unpaid ERISA severance

 9 payments plus pre-judgment interest of 4.69%, running from the date of each plaintiff’s termination

10 without cause by Microchip in the spring or summer of 2016. Put another way, not only were all nine

11 plaintiffs made completely whole by this settlement, but they ended up recovering more than 135 cents

12 on the dollar for each of their claims without having to pay a penny in attorneys’ fees themselves – a

13 truly remarkable result.2

14           This result would not have been possible without the exceptional litigation skills and
15 unsurpassed commitment to justice of plaintiffs’ litigation team, comprising attorneys from two law

16 firms specializing in complex employment litigation (Altshuler Berzon LLP and McGuinn Hillsman &

17 Palefsky) and ERISA specialist Bill Reilly from the Law Offices of William Reilly – a stellar team of

18 advocates who allocated responsibility among themselves in accordance with their respective skills,

19 experience, and specialized expertise. For almost seven years, dating back to plaintiffs’ counsel’s first

20 communications with plaintiffs Robin Berman et al., these attorneys tirelessly and effectively worked to

21 vindicate plaintiffs’ statutory rights under ERISA, through the claims administration process, in this

22 Court, in the Ninth Circuit, and again in this Court.

23           Based on the total number of hours devoted to these efforts, calculated using counsel’s current
24 2023 rates, plaintiffs’ lodestar is in excess of $1.7 million. On top of that, plaintiffs should be entitled to

25 a multiplier of at least 1.3, given the extraordinary success they achieved, the contingent risk of non-

26 success, and other relevant factors, for a total award of nearly $2.2 million plus expenses. For purpose of

27
         2
           The federal post-judgment interest rate at the time of the first judgment in this action (later
28
     reversed by the Ninth Circuit) was 1.63%. The current rate, as of the date of filing, is 4.97%.
                                                           1
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 1 this fee petition, however, and in the hope of avoiding (or at least substantially limiting) the further

 2 delay, expense, and judicial burden of extended fees litigation, plaintiffs are seeking a total award for

 3 fees and expenses of just $1.5 million for their three law firms’ nearly seven years of unpaid work

 4 leading to this extraordinary settlement, with no multiplier, with substantial billing judgment reductions,

 5 and with hourly rates at 2022 levels rather than current 2023 hourly rates. As plaintiffs have informed

 6 defendants Microchip et al., if further briefing on this fee application is required, plaintiffs will also

 7 request in conjunction with their reply brief an additional amount for the “fees on fees” incurred after

 8 February 23, 2023.

 9          The parties’ settlement agreement, attached as Exhibit A to the Declaration of Keith Ehrman
10 (Ehrman Decl.), stipulates that plaintiffs’ counsel are entitled to statutory fees and expenses under

11 ERISA. Ehrman Decl., Ex. A ¶2 (“Defendants will not dispute, with respect to that motion, that

12 Plaintiffs are entitled to reasonable attorneys’ fees, costs, and expenses pursuant to ERISA ….”).

13 Consequently, the only question before the Court is the reasonable amount of those fees and expenses

14 pursuant to 29 U.S.C. §1132(g)(1) (“In any action under this subchapter … by a participant, beneficiary,

15 or fiduciary, the court in its discretion may allow a reasonable attorney’s fee and costs of action to either

16 party.”).

17          As the Court will recall, plaintiffs submitted a fee request in the fall of 2019 after initially
18 prevailing on summary judgment, based on what were then 1,201.53 documented hours of effort. See

19 Dkt. 122. Because Microchip had appealed this Court’s ruling to the Ninth Circuit, the parties agreed to

20 suspend briefing on that fee motion after Microchip filed its opposition brief. Most of the arguments in

21 that opposition brief were meritless. See infra at 12-17. Nonetheless, plaintiffs’ counsel have undertaken

22 a complete review of their 2019 submission and, in a good-faith effort to resolve this dispute, have made

23 additional reductions to eliminate any possible dispute over the reasonableness of the time expended.

24 See Ehrman Decl. ¶¶54-61. Thus, plaintiffs’ current fee request has reduced the original pre-November

25 8, 2019 time from 1,201.53 hours to 1,021.45 hours (a reduction of 180.8 hours), while adding 710.85

26 hours for counsel’s successful litigation efforts for the time period from November 9, 2019, to February

27 23, 2023. The reasons for those pre-November 2019 reductions, and plaintiffs’ responses to defendants’

28 previous challenges to the pre-November 2019 time entries, are set forth in detail below, and are

                                                           2
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1 explained and documented in the Ehrman Declaration ¶¶59-67 and in the consolidated time records

2 spreadsheet attached as Exhibit B to that declaration. In total, plaintiffs now seek compensation for

3 1,732.30 hours of work over the past seven years, at 2022 hourly rates, with no multiplier. Although the

4 resulting lodestar is $1,562,286 plus expenses, plaintiffs’ requested award is just $1.5 million.

5                                                 BACKGROUND
6           A. Plaintiffs’ Counsel Devoted Substantial Time and Resources to this Case on a Pure
                Contingency Basis, Despite the Risks Involved.
7
            Plaintiffs’ counsel litigated this complex, nine-plaintiff ERISA case efficiently and effectively.
8
     Yet, largely as a result of defendants’ unyielding and obstreperous litigation strategies, plaintiffs were
9
     forced to devote more than 2,000 hours to this case over the past seven years. Ehrman Decl. ¶59-61, 68-
10
     69, 87; Ehrman Decl. Ex. B. All of that time was reasonably and appropriately spent, although plaintiffs’
11
     counsel have reduced that time considerably in the exercise of billing judgment, for purposes of this fee
12
     application. Id. ¶¶87-88; Declaration of Michael Rubin (Rubin Decl.) ¶¶13, 19-21.
13
            Before filing this lawsuit, plaintiffs’ counsel diligently investigated the facts, including by
14
     interviewing the nine plaintiffs and other non-party witnesses and reviewing documents from plaintiffs
15
     and other former Atmel employees and executives. Ehrman Decl. ¶6. Based on that investigation,
16
     plaintiffs’ counsel learned that, in the days immediately after Microchip’s acquisition of Atmel on April
17
     4, 2016, Microchip had begun terminating many of the former Atmel employees (including several of
18
     the plaintiffs) but had refused to pay them the substantial severance benefits that had been promised to
19
     them under the Atmel Severance Plan (which guaranteed severance to all covered employees who
20
     remained in their Atmel jobs through the date of any change-in-control merger if they were subsequently
21
     terminated without cause by the acquiring company). Ehrman Decl. ¶7; see Dkt. 95 at 2-3.
22
             Instead of paying the agreed-upon severance to plaintiffs (when their need for economic relief
23
     was the greatest, having been fired without cause despite loyally continuing to work for Atmel until after
24
     the merger closed), Microchip wrongfully asserted that the Plan had “expired” in November 2015. Dkt.
25
     95 at 4-5. Microchip’s CEO Steve Sanghi made this decision several months before the merger close,
26
     but defendants deliberately did not inform plaintiffs of their plan to deny those guaranteed benefits until
27
     a series of post-merger meetings, after plaintiffs had complied with their part of the bargain by loyally
28

                                                          3
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 1 sticking by Atmel until the merger was completed. From the date Microchip fired each plaintiff without

 2 cause in 2016 until mid-January 2023, when this case settled, Microchip refused to pay plaintiffs any of

 3 the severance benefits it was required to pay them under the Atmel Plan. See Ehrman Decl. ¶¶7-13, 44-

 4 46.

 5           In May 2016, five of the terminated plaintiffs filed administrative claims, as required to pursue
 6 an ERISA benefits claim. Dkt. 95 at 4-5.3 All of them attached to their claims letters considerable

 7 evidentiary support justifying their entitlement to severance. See, e.g., Dkt. 54 at 9:4-9; Dkt. 56 at 5-165.

 8 Plaintiffs’ counsel had compiled this material as the factual and documentary evidence that would form

 9 the basis for the Berman lawsuit that plaintiffs would eventually file in this court. Ehrman Decl. ¶¶6-9.

10           During the claims process, Microchip began a pattern of bad-faith, delaying, and obstructionist
11 conduct that would continue throughout this litigation. For example, on August 15, 2016, with ERISA’s

12 statutory 90-day period for responding to claims about to expire, Plan Administrator Carly Petrovic

13 wrote to plaintiffs that “special circumstances” required an “additional” 90 days to respond to plaintiffs’

14 claim – the circumstance being her supposed need “to gather all appropriate documentation.” See, e.g.,

15 Dkt. 54 at 9 n.7; Dkt. 56 at 26. In fact, Petrovic admitted at her later deposition that she never looked

16 for, or at, any documents other than those submitted with plaintiffs’ original claim letters. Dkt. 100 at 10

17 n.5; Ehrman Decl. ¶10. Petrovic also admitted that she had not conducted any investigation into the

18 merits of plaintiffs’ claims or their declarations, which established that, prior to the merger, the drafters

19 of the Atmel Plan had made a “conclusive and binding” construction of that Plan that completely

20 supported (and required Microchip to support) plaintiffs’ construction. Id. Instead, Petrovic simply read

21 plaintiffs’ claim submissions and then made her “determination” – which plaintiffs learned through

22 discovery years later was the position that Microchip’s CEO had reached months before the merger

23 closed and that Petrovic’s supervisor, Lauren Carr, had communicated to Petrovic before she even began

24 reviewing plaintiffs’ claims. Dkt. 177 at 11-12. Plaintiffs also learned during discovery that Petrovic’s

25 denial letters had been drafted by Microchip’s counsel and had been sent to Microchip’s CEO for review

26 before being sent to Petrovic for issuance to plaintiffs. Dkt. 165 at 21.

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         3
          The other four Berman plaintiffs were terminated between May and July 2016, and thus filed their
28
     administrative claims slightly later. Dkt. 95 at 4-5.
                                                          4
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 1           In late November 2016, after waiting almost the full statutory maximum 180 days for claims
 2 where “special circumstances” exist, Microchip denied all nine claims on the purported ground that the

 3 Plan had expired the previous November. Dkt. 54 at 9:5-17; Dkt. 95 at 4-5; Ehrman Decl. ¶11.

 4           In December 2016, plaintiffs again demanded that the Plan Administrator produce the documents
 5 that plaintiffs had originally requested in May 2016. See Dkt. 54 at 10 n.8. In January 2017, the Plan

 6 Administrator produced the purported “administrative file” (which consisted of essentially nothing but

 7 the plaintiffs’ own claims submissions and the November claim denial letters), but again refused to

 8 produce numerous highly relevant documents that plaintiffs had requested. Id.

 9           In January 2017, all claimants appealed the denials of their claims for ERISA severance pay.
10 Dkt. 54 at 9:24-10:18. Their appeals reasserted their original arguments (which the Plan Administrator

11 had ignored in her denial letters) and again fully documented the basis for their claims. Id.; Ehrman

12 Decl. ¶13. Even though Microchip had appointed a different individual to review plaintiffs’ appeals,

13 Petrovic personally denied each of those appeals, using the same brief boilerplate language drafted by

14 Microchip’s counsel that she had used in denying plaintiffs’ earlier claims. Dkt. 145 at 11-12; see also

15 Dkt. 177 at 9-11. Once again, Petrovic ignored (and did not even address) plaintiffs’ evidence and

16 arguments, including the evidence establishing that Atmel’s senior executives had made a binding and

17 conclusive pre-merger interpretation of the Plan language that confirmed plaintiffs’ entitlement to Plan

18 benefits. Dkt. 145 at 11-12; Ehrman Decl. ¶13.

19           On April 4, 2017, after completing Microchip’s administrative exhaustion process, plaintiffs
20 filed this federal court lawsuit. Dkt. 1. Microchip immediately moved to dismiss all claims. Dkt. 9. On

21 February 6, 2018, this Court issued an order denying Microchip’s motion in substantial part, allowing

22 the case to proceed on plaintiffs’ principal claims. Dkt. 35; see Ehrman Decl. ¶14.4

23           After the Court held its initial Case Management Conference in December 2017, plaintiffs served
24 initial disclosures and formal written discovery (interrogatories and requests for production). Ehrman

25 Decl. ¶15. Microchip refused to produce many of the requested documents; refused to answer all of

26 plaintiffs’ interrogatories; refused to provide a privilege log; and tried to stop plaintiffs from contacting

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         4
           The Court dismissed with prejudice only plaintiffs’ requests for certain types of relief that were
28
     duplicative of other types of relief sought. See Dkt. 35 at 25-26.
                                                          5
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 1 and noticing the deposition of a key witness (the former Atmel executive who had been the person

 2 mainly responsible for drafting and interpreting the Plan). Id. ¶16. Microchip’s obstructionist conduct

 3 required plaintiffs to engage in various “meet and confer” efforts and then to file in May 2018 multiple

 4 discovery motions with Magistrate Judge Laporte. Id.; see also Dkts. 43, 46, 48, 50, 51. In June 2018,

 5 Magistrate Judge Laporte ruled in plaintiffs’ favor on essentially every discovery issue, thereby

 6 permitting plaintiffs to conduct extensive discovery beyond the administrative record. Dkt. 53; see

 7 Ehrman Decl. ¶16.5

 8           Microchip served interrogatories and document requests on all nine plaintiffs in July 2018.
 9 Ehrman Decl. ¶18. Each plaintiff fully complied with these discovery requests, providing complete

10 interrogatory answers and producing all of his or her responsive documents in August 2018. Id.6

11 Following that production, Microchip noticed and took the depositions of eight of the Berman plaintiffs

12 in November 2018. Id. ¶22. (Microchip later took the depositions of the ninth plaintiff as well. Id. ¶38.)

13 Plaintiffs took the depositions of Plan Administrator Petrovic, the two former Atmel executives who had

14 primary responsibility for drafting the Plan and communicating its meaning to the employees, and

15 Microchip’s CEO and head of HR. Id. ¶¶22, 33, 38.7

16           On July 2, 2018, plaintiffs filed a motion for partial summary judgment on their claims for
17 unpaid severance benefits and a determination as to liability on their breach of fiduciary duty claim. Dkt.

18

19
         5
20        These discovery issues affected both the Berman and Schuman cases (and indeed, Magistrate
   Judge Laporte’s order includes both case captions), which is why the time spent by plaintiffs’ counsel on
21 these issues is listed as “joint” on the spreadsheet attached to the Ehrman declaration, i.e., only 50% of
   the time is allocated to the Berman case. Ehrman Decl. ¶16. Plaintiffs subsequently had to file
22 additional discovery motions with Magistrate Judge Laporte because, for example, defendants still
   refused to provide a complete privilege log. See id. ¶17; Dkt. 93, 94.
23
        6
          In contrast to defendants’ discovery conduct that required plaintiffs to engage in repeated “meet
24 and confers” and resulted in multiple motions to the Magistrate Judge, Microchip did not need to seek
   court intervention to obtain the discovery it sought of plaintiffs. See Ehrman Decl. ¶¶18, 38, 71.
25      7
          Plaintiffs have allocated the time spent on plaintiffs’ depositions of Microchip and Atmel
26 witnesses jointly between the Berman and Schuman cases, because the testimony of these witnesses was
   relevant and useful to both cases. Ehrman Decl. ¶23. Time spent on the depositions of the nine Berman
27 plaintiffs was allocated entirely to the Berman case, just as the time spent for defendants’ depositions of
   the two named class action plaintiffs (Peter Schuman and William Coplin) will be allocated entirely to
28
   the Schuman case if the plaintiffs prevail in that case. Id
                                                         6
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 1 54.8 Microchip disputed the Plan drafters’ construction of their own Plan language and their explanation

 2 of its underlying purposes and asserted that more discovery was needed before the Court could properly

 3 determine the Plan’s meaning. Dkt. 74 at 11-16; Ehrman Decl. ¶21.

 4           On March 22, 2019, this Court granted plaintiffs’ motion for partial summary judgment, ruling
 5 that plaintiffs were entitled to the severance benefits that Atmel had promised and that Microchip had

 6 breached its fiduciary duties in the course of denying their claims and appeals. Dkt. 95.9 Shortly

 7 thereafter, this Court ordered the parties to appear at a Case Management Conference where it urged the

 8 parties to “achieve a timely resolution of this matter.” Dkt. 97.

 9           On April 19, 2019, at plaintiffs’ urging, the parties agreed on the severance and COBRA
10 amounts that plaintiffs would be entitled to receive under the Court’s partial summary judgment order

11 ($629,061.36), but plaintiffs could not obtain Microchip’s agreement on any other issues that might end

12 the litigation. Dkt. 96; Ehrman Decl. ¶27. As defendants wrote in the parties’ Joint Statement, “because

13 Defendants do not believe it will be possible to reach a settlement of this case while the Schuman case

14 remains pending, Defendants believe a settlement conference at this juncture in the Berman case would

15 be premature.” Dkt. 96.

16           To avoid additional evidentiary hearings and to bring the litigation to an efficient conclusion,
17 plaintiffs sought summary judgment on May 24, 2019 on the two remaining issues: the appropriate relief

18 for plaintiffs’ breach of fiduciary duty claim and pre-judgment interest (which was within the discretion

19 of the Court, at a time when the federal post-judgment interest rate was a mere 2.39%.) Dkt. 99; Ehrman

20 Decl. ¶28. The Court denied the motion due to the lack of individualized evidence (Dkt. 112), and

21
         8
         This motion was particularly time-consuming. In addition to the complex legal issues involved,
22
   the factual record used to provide evidentiary support for the motion was voluminous, and citations to
23 the evidentiary record were required for each of the nine plaintiffs. Ehrman Decl. ¶¶20, 75. Plaintiffs’
   supporting brief included approximately 280 separate citations to pages in the Administrative Record
24 and other supporting evidence, and these citations collectively referred to thousands of different pages of
   evidence. In total, plaintiffs submitted over 8,000 pages of documents in support of their motion. Id.; see
25 Dkts. 55-67.
         9
26       The Court held that “[t]he Plan Administrator’s interpretation of the Atmel Plan was so plainly
   incorrect as to violate any potentially applicable standard of review, whether it be de novo, arbitrary and
27 capricious, or unreasonable and not in good faith.” Dkt. 95 at 9. The Court also found that “the Plan
   Administrator breached her duties when she misrepresented the terms of the Plan by denying Plaintiffs’
28
   claim for benefits.” Id. at 13.
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 1 plaintiffs chose not to pursue further relief (to avoid time-consuming individual adjudications for each

 2 plaintiff), even though the Court had specifically found in favor of plaintiffs on their cause of action for

 3 breach of fiduciary duty. Dkt. 95 at 12-13; Dkt. 117; Ehrman Decl. ¶¶28, 29. To expedite final

 4 resolution, plaintiffs instead asked the Court to enter judgment for each plaintiff in the stipulated amount

 5 of their unpaid benefits, and asked for pre-judgment interest at whatever rate the Court felt was

 6 appropriate. Dkt. 117; Ehrman Decl. ¶29. On October 18, 2019, the Court entered judgment in the

 7 principal amount of $624,061.36, plus pre-judgment interest at 1.63% (the one year T-bill rate as of that

 8 week). Dkt. 119. The Court also set a briefing schedule for plaintiffs’ motion for statutory attorneys’

 9 fees and expenses – although briefing on that motion was subsequently suspended, in light of the

10 pendency of Microchip’s appeal from the Court’s judgment. Id.; Ehrman Decl. ¶¶29-32.

11          The parties then turned their attention to the Ninth Circuit appeal, which defendants had filed on
12 November 15, 2019. Dkt. 121. After extensive briefing and argument, the Ninth Circuit on March 2,

13 2021, issued an unpublished Memorandum Disposition, which reversed the Court’s March 2019

14 summary judgment ruling and remanded for further proceedings, concluding that certain Plan language

15 was ambiguous and that defendants should be permitted to conduct additional discovery. Dkt. 133;

16 Ehrman Decl. ¶¶34-35.

17          Following remand, the Court allowed defendants to take additional discovery, including the
18 deposition of the ninth plaintiff and further interrogatories and requests for admission, and set a schedule

19 for summary judgment cross-motions and a trial date of May 2, 2022. Dkts. 137, 140. In July 2021,

20 plaintiffs filed a motion for partial summary judgment, asking the Court to once again find that the

21 plaintiffs were entitled to their full severance benefits and that defendants had breached their fiduciary

22 duties. Dkts. 145-158. That motion for summary judgment included nearly 300 separate citations to the

23 Administrative Record and to additional evidence obtained during discovery, and was supported by

24 thousands of pages of evidentiary material. Ehrman Decl. ¶39. Defendants in turn filed a cross-motion,

25 also with extensive record citations. Dkt. 163. While those motions were pending, Microchip filed yet

26 another motion for partial summary judgment, this time directed at plaintiffs’ claim for equitable relief,

27 Dkt. 171, which plaintiffs successfully struck as an improper “second” summary judgment motion. Dkts.

28 172-173; see Ehrman Decl. ¶40.

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 1          On July 29, 2022, the Court issued an order denying both parties’ 2021 cross-motions for
 2 summary judgment, concluding that there remained a “dispute of fact” regarding the interpretation of the

 3 Plan language. Dkt. 177. The Court stated that it would hold a bench trial and that the standard of review

 4 would be de novo, concluding that the Plan Administrator’s decision to deny benefits would be given no

 5 deference for several reasons, including that: (1) Carly Petrovic had no authority to decide the appeals,

 6 id. at 9-11, and (2) the Plan gave full discretion to Atmel to make “conclusive and binding”

 7 interpretations and decisions regarding the Plan and its language prior to the merger but did not give the

 8 successor company (Microchip) such discretion after the merger, and “the benefits offered under the

 9 Plan would be illusory if the Company after the merger could simply reinterpret the Plan to deny

10 benefits,” id. at 4-9. The Court also found that because defendants and the Plan Administrator had

11 structural and personal conflicts of interest, even if the standard of review had been “abuse of

12 discretion” the Court would have engaged in “more exacting scrutiny” of the administrator’s decisions.

13 Id. at 11-12.; Ehrman Decl. ¶42.The Court thus rejected defendants’ principal defense – that an abuse-

14 of-discretion standard applied and that it could never be an abuse of discretion to deny benefits under a

15 contract that included an ambiguous coverage term.

16          Throughout the fall of 2022, plaintiffs’ counsel engaged in preliminary trial preparation,
17 including by preparing Stipulated Facts pursuant to the Court’s trial requirements; selecting and

18 preparing evidence from the Administrative Record and from discovery for use at trial; and arranging

19 for testimony from several of Atmel’s senior executives who had been involved in drafting the

20 Severance Plan, as well as testimony from other potential witnesses. Ehrman Decl. ¶43. After extended

21 negotiations between counsel, the parties reached a tentative settlement in December 2022, and executed

22 their final agreement on January 10, 2023. Id. ¶44 & Ex. A.

23          The Settlement Agreement required defendants to pay each plaintiff one hundred percent of their
24 severance and COBRA benefits under the Atmel Plan, plus pre-judgment interest at the rate of 4.69%

25 compounded annually that would run from the date of each plaintiff’s termination in 2016 through

26 December 15, 2022. Id. ¶45 & Ex A. The total settlement amount to be paid to the nine plaintiffs was

27 $851,853.67, comprising $629,061.36 in severance and COBRA benefits (the same amount the Court

28 had awarded plaintiffs in its October 18, 2019 judgment after the parties corrected a clerical error) plus

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 1 interest of $222,792.31, which was substantially more in interest than the Court had awarded in its

 2 October 18, 2019 judgment (as the Court had used a pre-judgment interest rate of 1.63%, Dkt. 119).

 3 Ehrman Decl. ¶45. Defendants paid all plaintiffs in full in mid-January 2023. Id ¶46.

 4          On December 27, 2022, plaintiffs submitted a seven-page, single-spaced fee demand letter to
 5 defendants, responding to each of the arguments defendants had asserted in response to plaintiffs’

 6 November 2019 fee application, accompanied by a consolidated spreadsheet of all time devoted to this

 7 case since the prior fee application. Id. ¶48. Defendants did not respond until February 7, 2023, but the

 8 parties’ positions were far apart. Further attempts to negotiate the fees issues were unsuccessful,

 9 requiring the filing of this motion. Id. ¶52.

10                                                 ARGUMENT
11          A. Plaintiffs Are Entitled to an Award of Attorneys’ Fees.
12          ERISA provides that “the court in its discretion may allow a reasonable attorney’s fee and costs
13 of action to either party.” 29 U.S.C. §1132(g)(1). Under Ninth Circuit precedent, “[t]his section should

14 be read broadly to mean that a plan participant or beneficiary, if he prevails in his suit under §1132 to

15 enforce his rights under his plan, should ordinarily recover an attorneys’ fee unless special

16 circumstances would render such an award unjust.” Smith v. CMTA-IAM Pension Trust, 746 F.2d 587,

17 589 (9th Cir. 1984) (internal quotations omitted). This standard furthers ERISA’s broad remedial

18 purpose “to protect employee rights and to secure effective access to federal courts.” Id. Defendants

19 have stipulated that plaintiffs are entitled to statutory fees and expenses under Section 1132(g)(1). See

20 supra at 2.

21          B. The Amount of Attorneys’ Fees and Costs Sought Is Reasonable.
22          To determine the amount of attorneys’ fees awarded under ERISA, courts use a “two-step hybrid
23 lodestar/multiplier approach.” Welch v. Metropolitan Life Ins. Co., 480 F.3d 942, 945 (9th Cir. 2007).

24 To establish the lodestar, courts multiply the number of hours reasonably expended on the litigation by a

25 reasonable hourly rate. Van Gerwen v. Guarantee Mut. Life Co., 214 F.3d 1041, 1045 (9th Cir. 2000). In

26 addition to setting the number of hours, the court must determine a reasonable hourly rate, “considering

27 the experience, skill, and reputation of the attorney requesting fees.” Chalmers v. City of Los

28 Angeles, 796 F.2d 1205, 1210 (9th Cir. 1986). The court may also adjust the lodestar using a multiplier

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 1 based on facts not subsumed in the initial lodestar calculation. See Van Gerwen, 214 F.3d at 1045; In re

 2 Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 941-42 (9th Cir. 2011) (multiplier factors include

 3 the benefits obtained, whether the results achieved were exceptional, the complexity and novelty of the

 4 issues, risks of litigation and non-payment, reasonableness of hours, and customary fees and rates for

 5 similar cases). Here, although plaintiffs’ counsel believe they would be entitled to a multiplier of at least

 6 1.3, plaintiffs are not seeking a multiplier award. However, if the Court is inclined for any reason to

 7 reduce plaintiffs’ fee-and-expense award below the requested $1.5 million, plaintiffs request that the

 8 Court award a multiplier for excellent results obtained, contingent risk of non-success, and the other

 9 applicable factors, to bring the fee award back up to that amount.

10                  1. Plaintiffs’ Counsel’s Lodestar Hours Are Reasonable.
11          The declarations filed in support of this motion establish that the hours plaintiffs’ counsel
12 expended bringing this litigation to a successful conclusion were more than reasonable. Plaintiffs’

13 counsel have devoted more than 2,000 hours to pursuing plaintiffs’ claims. Ehrman Decl. ¶¶59-61, 68-

14 69, 87 & Ex. B. As reflected above and in the accompanying declarations of counsel, particularly in the

15 “long-form” Ehrman declaration, this time was spent on many tasks that were critical to vindicating the

16 nine plaintiffs’ right to severance benefits under the Atmel Plan, including: (1) conducting pre-filing

17 investigation, both legal and factual; (2) propounding and responding to written discovery, including

18 responding to separate requests for production of documents and interrogatories directed at each of the

19 plaintiffs, drafting initial disclosures, reviewing voluminous documents produced in discovery, and

20 engaging in discovery meet and confer efforts and discovery disputes; (3) taking five depositions and

21 defending the nine depositions that Microchip took of the plaintiffs before and after the Ninth Circuit

22 appeal; (4) preparing and successfully arguing an opposition to Microchip’s motion to dismiss; (5)

23 preparing and successfully arguing plaintiffs’ motion for summary judgment and other motions; (6) case

24 management, including preparing for case management conferences and drafting case management

25 statements; (7) briefing and arguing the Ninth Circuit appeal; (8) conducting post-remand discovery and

26 briefing cross-motions for summary judgment, (9) preparing for trial, and (10) communicating with the

27 nine plaintiffs. Id. ¶¶5-56, 70-79.

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 1          The time plaintiffs’ counsel spent on those tasks was necessary to overcome the unyielding
 2 opposition of Microchip, which aggressively defended against plaintiffs’ claims at every turn and

 3 required plaintiffs’ counsel to expend many additional hours litigating this case. Microchip was

 4 represented throughout this case by at least a half-dozen attorneys from four different offices of the

 5 national law firm of Ogletree, Deakins, Nash, Smoak, Stewart, P.C. (as shown by the court filings in this

 6 case and Schuman). See, e.g., Dkt. 36, 80, 86, 128; Schuman Dkt. 165; Ehrman Decl. ¶83. Microchip

 7 was also represented by defense attorneys at Wilson Sonsini, which represented Microchip during

 8 plaintiffs’ administrative claims process. Ehrman Decl. ¶¶19, 24. Although defendants never had to

 9 move to compel any discovery from plaintiffs in more than six years of litigation, id. ¶¶18, 38, 71,

10 plaintiffs were repeatedly required to seek discovery orders from Magistrate Judge Laporte to obtain

11 defendants’ compliance with its discovery obligations, and only once failed to obtain the discovery

12 plaintiffs had sought to compel, id. ¶¶16, 17, 72.

13          In preparing this fee application, plaintiffs’ counsel exercised billing judgment as they would for
14 a fee-paying client (and then some), reducing hours to eliminate redundancies, inefficiencies, and other

15 time not appropriately charged to a paying client. See, e.g., id. ¶¶87-88; Rubin Decl. ¶¶13, 19-21; Reilly

16 Decl. ¶¶6-7. In total, plaintiffs have eliminated more than 250 hours from their time records in the

17 exercise of such billing judgment. Ehrman Decl. ¶¶59, 60, 61, 88. Given the numerous tasks required

18 and results obtained, the hours of work performed by plaintiffs’ counsel (which have been reduced in the

19 exercise of billing judgment) are more than reasonable.

20          In response to plaintiffs’ November 2019 fee application, Microchip raised several challenges to
21 plaintiffs’ requested hours. Dkt. 128. Because plaintiffs did not have the opportunity to file a reply brief

22 in support of that request, see Dkt. 129, and because Microchip has suggested that it intends to raise

23 those same challenges to the current request, we briefly address each such challenge below.

24          First, defendants objected to plaintiffs seeking fees for any time spent on what defendants
25 characterized as the “ERISA administrative claim process.” Defendants essentially objected to every

26 hour of time spent by plaintiffs’ counsel before filing this lawsuit in April 2017. But of course, much of

27 that time was spent in conventional (and ultimately, highly effective) investigation into the facts and

28 law, and only a portion was directly and exclusively devoted to the actual “administrative claim

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 1 process.” Nonetheless, for purposes of the present fee application and in the further exercise of billing

 2 judgment, plaintiffs have deleted 102 hours from the time requested in our prior application for work

 3 performed in 2016 and early 2017, including time spent preparing and submitting plaintiffs’

 4 administrative claims and appeals, which required drafting declarations and compiling the documentary

 5 evidence used for the claim letters and appeals (all of which were extensively relied upon and cited in

 6 plaintiff’s summary judgment motions), researching the administrative claims process, and

 7 communicating with defendants’ counsel and the Plan Administrator regarding the administrative claim

 8 process. Ehrman Decl. ¶¶59, 60.

 9            Second, defendants contended that some of the hours listed on plaintiffs’ consolidated
10 spreadsheet were either erroneous, duplicate, or more appropriately allocated in whole or in part to the

11 Schuman litigation. Plaintiffs’ counsel have carefully reviewed every time entry from the beginning of

12 the investigative process to the present (over 2,600 time entries) to eliminate all possible mistaken,

13 duplicate, or misallocated entries, while paying special (but not exclusive) attention to the entries

14 defendants had flagged. In a few instances, defendants were correct. In most, they were not. Plaintiffs

15 are fully satisfied that each entry in the consolidated time sheets attached to the Ehrman Declaration is

16 properly and accurately billed to Berman (or 50% to Berman, for the “joint” entries). In the course of

17 that review, plaintiffs’ counsel chose to exercise even greater billing judgment than had been exercised

18 before, including eliminating time that could arguably be considered “start up” time for attorneys, work

19 by multiple attorneys on the same issue, etc. As a result of that process, plaintiffs eliminated an

20 additional 70 hours from the original consolidated spreadsheet, as well as eliminating many additional

21 hours recorded after November 2019. Id. ¶¶59, 61.

22          Third, defendants objected to the seven hours plaintiffs’ counsel spent in the summer of 2018
23 pertaining to a “Motion to Strike” that, as defendant noted, was never filed. The brief amount of time

24 spent on that motion was fully compensable, as plaintiffs had researched and drafted that motion to

25 support the position that the Court should strike certain inadmissible evidence offered by defendants in

26 connection with defendants’ Opposition to Plaintiffs’ Motion for Summary Judgment. After completing

27 a preliminary draft of that motion, plaintiffs decided it would be more efficient to present those

28 arguments in the body of the Reply Brief rather than in a stand-alone motion to strike, which would have

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 1 required additional rounds of briefing. Dkt. 76 at 4. The time spent researching and drafting the “motion

 2 to strike” was entirely proper and clearly related to our successful prosecution of this action. Ehrman

 3 Decl. ¶62.

 4          Fourth, defendants objected to the time spent by plaintiffs’ counsel obtaining proper privilege
 5 logs from defendants (and from the Wilson Sonsini attorneys) and for counsel’s efforts to obtain an in

 6 camera review of a sampling of 12 of the 111 disputed documents on these privilege logs to determine

 7 whether they should have been produced under the “fiduciary exception.” Ehrman Decl. ¶¶25, 63.

 8 Defendants initially refused to provide any privilege logs. Then, they failed to provide complete

 9 privilege logs. That obstructionism required plaintiffs to file multiple motions with Magistrate Judge

10 Laporte to compel defendants to produce a proper privilege log. Id.; Dkts. 43, 53, 93, 94. The privilege

11 logs that defendants and Wilson Sonsini finally produced still had many deficiencies, which required

12 several meet-and-confer discussions to address. Ehrman Decl. ¶¶24, 63. Eventually, defendants and

13 Wilson Sonsini provided revised privileged logs in 2019 and produced additional documents that should

14 not have been withheld in the first place. Id. Although it also appeared likely that many documents on

15 the privilege log should have been produced under the “fiduciary exception” doctrine, there was no way

16 to evaluate this without examining the individual documents one by one. Rather than having Magistrate

17 Judge Laporte undertake the laborious task of reviewing more than 100 suspect documents, the parties

18 and Wilson Sonsini agreed to have her review in camera a small “sample” set of 12 documents from the

19 privilege log. Ehrman Decl. ¶25; Dkts. 107-110. After the parties submitted their joint letter brief

20 concerning the “fiduciary exception,” Magistrate Judge LaPorte retired and Magistrate Judge Hixson

21 succeeded her. After Magistrate Judge Hixson reviewed the 12 “sample” documents, he concluded that

22 the fiduciary exception did not apply to them, although he noted that the documents did not entirely fall

23 at either end of the spectrum. Dkt. 114. The roughly two dozen hours that plaintiffs spent on the

24 “motion” for in camera review were reasonably and appropriately spent under the governing Hensley

25 “relatedness” standard. Ehrman Decl. ¶63; see Hensley v. Eckerhart, 461 U.S. 424, 440 (1983); Schwarz

26 v. Sec’y of Health & Human Servs., 73 F.3d 895, 903 (9th Cir. 1995).

27          Fifth, defendants objected to the time plaintiffs spent in 2019 litigating issues concerning the
28 right under ERISA to seek pre-judgment interest and an equitable surcharge award after the Court had

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 1 granted plaintiffs’ motion for partial summary judgment in March 2019. As the Court will recall, it had

 2 granted plaintiffs’ motion on plaintiffs’ claim for benefits and plaintiffs’ claim for breach of fiduciary

 3 duty. Dkt. 95. Plaintiffs were therefore entitled under ERISA to seek pre-judgment interest on their

 4 benefits award and an equitable surcharge award as a remedy for defendants’ breach of fiduciary duty.

 5 As plaintiffs pointed out (and as the Court agreed), ERISA vests trial judges with discretion to award

 6 pre-judgment interest at a rate appropriate to the circumstances, including by awarding an interest rate

 7 higher than the default statutory rate (especially where, as was the case at the time, the statutory rate was

 8 extremely low). Dkt. 100 at 6-13; Dkt. 112 at 5-6. Plaintiffs could have prolonged this litigation (and

 9 significantly increased the attorney fees sought) by pursuing nine individual mini-trials regarding

10 interest and equitable surcharge (which would have required detailed presentation of evidence

11 concerning each plaintiffs’ additional damages, including their investment strategies and results). In an

12 effort to minimize litigation costs and demands – on the parties as well as the Court – plaintiffs decided

13 instead to bring a single, narrowly targeted summary judgment motion, based on undisputed facts, to

14 request pre-judgment interest at a rate higher than the default rate for all nine plaintiffs, either as pre-

15 judgment interest or as an equitable surcharge remedy, either of which would have been permissible

16 under ERISA case law. Ehrman Decl. ¶28. The Court eventually denied the motion on the ground that it

17 required individualized plaintiff-by-plaintiff evidence of additional damages. Dkt. 112. That is, the

18 Court concluded that before it could increase the pre-judgment interest rate and award the type of

19 equitable surcharge sought, it would need concrete and specific individual evidence of each plaintiff’s

20 harm. Id. While plaintiffs could have responded by presenting such evidence, again they chose to

21 minimize the costs and burdens of litigation by not pursuing nine separate individual mini-trials. Rather,

22 plaintiffs decided to ask the Court simply to enter judgment and award plaintiffs whatever interest rate

23 the Court felt was appropriate under the circumstances. Ehrman Decl. ¶¶29, 64. Plaintiffs’ decision not

24 to pursue nine mini-trials thus saved the parties and the Court substantial time and expense. Id. There is

25 no valid basis for reducing plaintiffs’ hours on this issue. And of course, in the settlement, plaintiffs

26 have now obtained a far higher rate of annual interest (4.69%) than the Court awarded when it entered

27 judgment for plaintiffs in October 2019 (1.63%). Dkt. 119; Ehrman Decl. ¶¶44, 45 & Ex. A.

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 1          Sixth, defendants objected that plaintiffs spent “too much time” compiling and citing the
 2 Administrative Record when preparing plaintiffs’ 2018 summary judgment motion. Plaintiffs’ counsel

 3 have reviewed their time records to reassess this objection and cannot identify any meaningful amount

 4 of time in 2018 spent “compiling” the Administrative Record. While counsel did spend some time

 5 identifying, compiling, and preparing the documentary support required for the 280 evidentiary citations

 6 included in plaintiffs’ summary judgment papers, Dkt. 54, that effort was completely appropriate. The

 7 documentary support for that motion was culled from more than 10,000 pages of documents produced in

 8 this action and attached more than 8,000 pages of evidentiary support to plaintiffs’ successful 2018

 9 summary judgment motion. Dkts. 54-67. None of that was “excess” time and there is no valid basis for

10 reducing any of those hours. See Ehrman Decl. ¶65.

11          Seventh, defendants broadly objected to every time entry that involved any reference to
12 “discovery” on the spurious ground that under plaintiffs’ plain-meaning construction of the Atmel Plan,

13 no discovery could possibly be relevant to this case. That assertion was wrong and illogical at the time,

14 and it is even more clearly wrong now. Even though plaintiffs sought to prevail based on the

15 Administrative Record alone, plaintiffs’ counsel acted reasonably in also preparing for trial and

16 summary judgment based on defendants’ theory of the case. Besides, most of the discovery in this case

17 was initiated by defendants, not plaintiffs, because defendants took nine depositions and propounded

18 multiple sets of interrogatories, a document request, and a set of requests for admission to each plaintiff.

19 Ehrman Decl. ¶66. Moreover, both parties used discovery excerpts in their 2018 and 2021 summary

20 judgment motions, including deposition excerpts, interrogatory answers, and documents produced

21 during discovery that were not part of the Administrative Record. Id. Indeed, the Ninth Circuit reversed

22 this Court’s 2019 summary judgment ruling in part on the ground that the parties should take even more

23 discovery, Dkt. 133, and this Court itself later ruled that a trial would be required to hear evidence and

24 witnesses outside the Administrative Record, Dkt. 177 at 13-16; Dkt. 179. The only part of the discovery

25 process that was one-sided were the motions to compel, each of which plaintiffs filed and each of which

26 was successful (except for Magistrate Judge Hixson’s final ruling about the fiduciary exception) because

27 of defendants’ persistent pattern of not complying with timely, proper, and entirely reasonable discovery

28 requests. See Ehrman Decl. ¶66.

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 1           Early in this litigation, defendants tried to block plaintiffs’ discovery requests by making the
 2 same argument: that plaintiffs should not be entitled to any discovery outside the Administrative Record.

 3 Dkts. 43, 46, 51, 93. Magistrate Judge Laporte disagreed, ruling in favor of plaintiffs on every discovery

 4 motion, and holding that plaintiffs were permitted to take full discovery in this action. Dkts. 53, 94;

 5 Ehrman Decl. ¶67. The law is clear, moreover, that plaintiffs in an ERISA case always have the right to

 6 take discovery outside the Administrative Record pertaining to issues such as breach of fiduciary duty

 7 and conflict of interest, both of which were applicable here. Dkt. 43 at 5-6. In sum, there is no basis for

 8 plaintiffs to reduce their hours for the time they spent on discovery matters.

 9                  2. Plaintiffs’ Counsel’s Lodestar Rates are Reasonable.
10           The lodestar should be calculated using hourly rates that are “the prevailing market rates in the
11 relevant community.” Blum v. Stenson, 465 U.S. 886, 895 (1984). It is well established that “[a]ffidavits

12 of the plaintiffs’ attorney and other attorneys regarding prevailing fees in the community, and rate

13 determinations in other cases, particularly those setting a rate for the plaintiffs’ attorney, are satisfactory

14 evidence of the prevailing market rate.” United Steelworkers v. Phelps Dodge Corp., 896 F.2d 403, 407

15 (9th Cir. 1990).

16           As this Court has recently explained:
17           “[T]he established standard when determining a reasonable hourly rate is the rate
             prevailing in the community for similar work performed by attorneys of comparable skill,
18           experience, and reputation.” Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 979 (9th
             Cir. 2008) (quotation omitted). Generally, “the relevant community is the forum in which
19           the district court sits.” Id. (citation omitted). And typically, “affidavits of the plaintiffs’
             attorney and other attorneys regarding prevailing fees in the community, and rate
20           determinations in other cases ... are satisfactory evidence of the prevailing market rate.”
             United Steelworkers of Am. v. Phelps Dodge Corp., 896 F.2d 403, 407 (9th Cir. 1990).
21           “[O]ther evidence of prevailing market rates may include affidavits from other area
             attorneys or examples of rates awarded to counsel in previous cases.” Schuchardt v. Law
22           Off. of Rory W. Clark, 314 F.R.D. 673, 687 (N.D. Cal. 2016).
23 Chess v. Volkswagen Grp. of Am., Inc., No. 17-CV-07287-HSG, 2022 WL 4133300, at *8 (N.D. Cal.

24 Sept. 12, 2022); see also In re Aqua Metals, Inc. Sec. Lit., No. 17-CV-07142-HSG, 2022 WL 612804, at

25 *8 (N.D. Cal. Mar. 2, 2022). In this case, plaintiffs’ requested rates are fully supported by the

26 declarations of plaintiffs’ counsel Michael Rubin, Keith Ehrman, and William Reilly; by the declaration

27 of frequently cited attorneys’ fees expert Richard Pearl, the author of California’s leading treatise on

28 statutory attorneys’ fees; and by the declaration of ERISA practitioner Daniel Feinberg. The rates

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 1 requested by Altshuler Berzon LLP are the rates the firm actually charged to, and were paid by,

 2 commercial clients paying on an hourly basis in 2022. Rubin Decl. ¶¶23, 25-26.

 3          Courts typically apply each attorneys’ current rate for all hours of work regardless of when
 4 performed to account for the delay in payment resulting from the years it took to litigate the case. See

 5 Missouri v. Jenkins, 491 U.S. 274, 282-84 (1989); Prison Legal News v. Schwarzenegger, 608 F.3d 446,

 6 453-54 (9th Cir. 2010). Plaintiffs are thus entitled to be compensated at counsel’s current 2023 rates,

 7 because this case settled in 2023 and the fees issues are being litigated in 2023. In general, law firms in

 8 the Bay Area and nationwide increased their hourly rates between 9-10% from 2022 to 2023, to reflect

 9 changed market conditions and the unusually high inflation rate in 2022. Rubin Decl. ¶¶23-24;

10 Declaration of Richard Pearl (Pearl Decl.) ¶¶9, 18 & Ex. B; Declaration of Daniel Feinberg (Feinberg

11 Decl.) ¶9. However, to minimize the need for extended fee litigation and in the interest of fairness,

12 plaintiffs’ fee request is based on their older 2022 hourly rates – which effectively reduced plaintiffs’

13 actual current lodestar by a substantial percentage. Rubin Decl. ¶¶23, 26.

14          Plaintiffs’ counsel’s experience, reputation, and ability – detailed in the accompanying
15 declarations – fully justify the requested hourly rates. Ehrman Decl. ¶¶1-4, 80-82; Rubin Decl. ¶¶3-12;

16 Reilly Decl. ¶¶2-4. These rates are commensurate with those prevailing for attorneys with comparable

17 skill and experience litigating complex employment and ERISA actions. Ehrman Decl. ¶86; Rubin Decl.

18 ¶¶23-24; Reilly Decl. ¶10; Pearl Decl. ¶¶9, 16; Feinberg Decl. ¶17. Moreover, those rates, or their

19 historical equivalents, have been paid to plaintiffs’ counsel by paying clients, and have repeatedly been

20 approved by other courts. See, e.g., Ehrman Decl. ¶86 (attorney Palefsky charged and was paid at an

21 hourly rate of $1,000 in 2017 and 2019); Rubin Decl. ¶¶23, 25-26 (attesting that these are the rates

22 charged by his firm to commercial clients and listing recent cases in which courts have approved

23 counsel’s current commercial market rates); see also Kang v. Wells Fargo Bank, N.A., No. 17-CV-

24 06220-BLF, 2021 WL 5826230, at *17 (N.D. Cal. Dec. 8, 2021) (approving Altshuler Berzon LLP 2021

25 rates); Wit v. United Behav. Health, 578 F.Supp.3d 1060, 1075, 1078-80 (N.D. Cal. 2022) (approving

26 fees in ERISA case based on 2020 rates for partners with more than 24 years’ experience ranging from

27 $1,040 to $1,145 per hour); Chess, 2022 WL 4133300, at *9 (approving rates “rang[ing] from $1,100 for

28 partners with over 30 years of experience to $550-800 for associates with multiple years of experience,”

                                                         18
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 1 and citing Carlotti v. ASUS Computer Int’l, No. 18-cv-03369-DMR, 2020 WL 3414653, at *5 (N.D.

 2 Cal. June 22, 2020) (approving hourly rates of $950 to $1,025 for partners, $450 to $900 for other

 3 attorneys, and $225 to $275 for legal assistants) and In re Volkswagen “Clean Diesel” Mktg., Sales

 4 Pracs., & Prod. Liab. Litig., No. 2672 CRB (JSC), 2017 WL 1047834, at *5 (N.D. Cal. March 17, 2017)

 5 (approving 2017 rates ranging from $275 to $1,600 for partners, $150 to $790 for associates, and $80 to

 6 $490 for paralegals); Hefler v. Wells Fargo & Co., No. 16-CV-05479, 2018 WL 6619983, at *14 (N.D.

 7 Cal. Dec. 18, 2018) (approving 2018 rates ranging from $650 to $1,250 for partners or senior counsel,

 8 and $400 to $650 for associates). Those rates are also fully supported by the expert declaration of

 9 Richard Pearl at ¶9 and by the declaration of Daniel Feinberg at ¶17. Those rates are also considerably

10 lower than counsel’s current 2023 rates. See Pearl Decl. ¶9 & Ex. B (attaching survey results showing

11 that commercial firms that submitted 2023 hour rates to courts in early January reported an increase in

12 top partner billing rates of nearly 10% on average and top associate rates of 9% from 2022 rates); Rubin

13 Decl. ¶23.

14          Based on the reduced number of hours claimed by plaintiffs (as stated above) and the reduced
15 2022 (rather than 2023) rates requested, plaintiffs’ counsel’s lodestar (including the “fees on fees” time

16 addressed infra at 20-21) is $1,562,286, calculated as follows:

17           Attorney                        Year             Rate         Hours           Lodestar
             Michael Rubin                   1977             $1,225       354.80          $434,630
18
             Cliff Palefsky                  1977             $1,100       165.12          $181,632
19           Keith Ehrman                    1981             $800         596.10          $476,880
             William Reilly                  1994             $900         258.88          $232,992
20           Ravi Rajendra                   2008             $840         11.75           $9,870
             Matthew Murray                  2009             $925         70              $64,750
21
             Connie Chan                     2010             $810         16.20           $13,122
22           Andrew Kushner                  2015             $675         188.20          $127,035
             Altshuler Berzon Paralegals     N/A              $300         71.25           $21,375
23           (including Law Clerks)
24
            C. Plaintiffs’ Counsel Are Entitled to Recover Their Reasonable Litigation Costs and
25             Expenses.
26          Plaintiffs’ counsel are also entitled to recover the $11,653.82 in litigation expenses they
27 reasonably incurred (although that amount is included within the requested $1.5 million total, see supra

28

                                                         19
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 1 at 2-3). Harris v. Marhoefer, 24 F.3d 16, 19 (9th Cir. 1994) (attorneys should recover reasonable out of

 2 pocket costs of the type ordinarily billed to paying clients); Aqua Metals, 2022 WL 612804, at *9. The

 3 expenses for which plaintiffs’ counsel seek reimbursement are detailed in the supporting declarations of

 4 counsel and are again allocated as between 100% of the Berman expenses and 50% of the joint

 5 expenses. Ehrman Decl. ¶90; Rubin Decl. ¶27; Reilly Decl. ¶11. As set forth therein, all of these costs

 6 were necessary to the prosecution of this litigation and were the sort of expenses normally billed to

 7 paying clients. Accordingly, they are fully reimbursable. See, e.g., In re Immune Response Sec. Litig.,

 8 497 F.Supp.2d 1166, 1177-78 (S.D. Cal. 2007).

 9          D. Plaintiffs’ Counsel Are Entitled to Recover their Fees on Fees.
10          Under ERISA, as under most federal and state fee-shifting statutes, prevailing plaintiffs are also
11 entitled to recover from defendants their “fees on fees,” the fees and expenses reasonably incurred in

12 litigating the parties’ dispute over fee eligibility and what constitutes a reasonable fee. Thompson v.

13 Gomez, 45 F.3d 1365, 1367 (9th Cir. 1995); Barnes v. AT&T Pension Benefit Plan-Nonbargained

14 Program, 963 F.Supp.2d 950, 981-82 (N.D. Cal. 2013).

15          In this case, despite good-faith efforts by plaintiffs’ counsel, the parties were not able to
16 negotiate a mutually acceptable fee amount, necessitating this filing. In plaintiffs’ first fee application in

17 2019, which provided the starting point for the present motion, plaintiffs’ counsel devoted 59 hours to

18 preparing the motion and supporting documentation, analyzing defendants’ opposition, outlining their

19 reply, and preparing the stipulation to hold further fee matters in abeyance pending the Ninth Circuit’s

20 decision. Plaintiffs’ counsel have devoted considerable additional time since November 2022 to

21 analyzing fees-related issues, responding to defendants’ previous objections (including by reviewing

22 more than 2,600 time entries), preparing a seven-page, single-spaced demand letter and detailed

23 spreadsheet, Ehrman Decl. Ex. B, attempting to negotiate a fees resolution with defendants, and

24 preparing this motion. In the exercise of billing judgment, and because of efficiencies obtained by

25 briefing some of the same issues twice, plaintiffs have reduced the total number of fees-on-fees hours

26 (including from the first filing) by dozens of hours, leaving a new total of 93.2 fees-on-fees hours up

27 through February 23, 2023. Ehrman Decl. ¶69. Plaintiffs are also offering defendants one more

28

                                                          20
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1 opportunity to settle; and if they do not, plaintiffs will include the additional fees-on-fees hours incurred

2 since February 23 along with the reply brief and declarations.

3                                                CONCLUSION
4          For the foregoing reasons, plaintiffs’ counsel respectfully request an award of $1.5 million in
5 statutory attorneys’ fees and expenses, plus such additional fees on fees as may be incurred after

6 February 23, 2023.

7

8 Dated: March 2, 2023                            Respectfully submitted,
9
                                                  ALTSHULER BERZON LLP
10                                                MICHAEL RUBIN
                                                  MATTHEW MURRAY
11
                                                  MCGUINN, HILLSMAN & PALEFSKY
12                                                CLIFF PALEFSKY
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13
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14                                                WILLIAM REILLY
15
                                          By:      /s/Michael Rubin
16                                                   Michael Rubin
17                                                Attorneys for Plaintiffs
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